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                          SOUTHERN DISTRICT OF NEW YORK


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 E. JEAN CARROLL,                                                                                  1•.   J�    ,�




                               Plaintiff,
                    v.                                No. 20 Civ. 7311 (LAK) (JLC)

 DONALD J. TRUMP, in his personal
 capacity,

                               Defendant.



 E. JEAN CARROLL,

                               Plaintiff,
                    v.                                No. 22 Civ. 10016 (LAK) (JLC)

 DONALD J. TRUMP,

                               Defendant.


            �PROTECTIVE AND CONFIDENTIALITY ORDER
       The Comt having found that good cause exists for issuance of an appropriately tailored

confidentiality order governing the pre-trial phase of Carroll v. Trump, No. 20 Civ. 7311

(S.D.N.Y.) (LAK) (JLC) ("Carroll I"), and Carroll v. Trump, No. 22 Civ. 10016 (S.D.N.Y.)

(LAK) (JLC) ("Carroll II") (together, the "actions"), and having fwther found that confidential

information from each action shall form part of the record in the other, it is hereby ORDERED that

any person subject to this Order-including without limitation the parties to these actions, their

attorneys, representatives, agents, experts and consultants, acting as such, all third parties

providing discovery in these actions, and all other interested persons with actual or constructive

notice of this Order-shall adhere to the following terms, upon pain of contempt. This Order shall
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